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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                            Case No. 1:20−cr−183

   v.                                          Hon. Robert J. Jonker

ADAM DEAN FOX,
BARRY GORDON CROFT, JR.,
DANIEL JOSEPH HARRIS,
BRANDON MICHAEL−RAY CASERTA,

         Defendants.
                                          /



                             NOTICE OF HEARING


TAKE NOTICE that a hearing on the following motion(s) has been rescheduled
as set forth below:


Motion(s):             Motion in Limine (ECF No. 493)
                       March 4, 2022 01:30 PM
Date/Time:             (previously set for same date and time)
Magistrate Judge:      Sally J. Berens
Place/Location:        699 Federal Building, Grand Rapids, MI

Change in location. Public audio access (listen only) for the hearing will be
available, subject to capacity limits, by phone at (877) 402−9753 with Access
Code 8731455#. RECORDING OR BROADCASTING OF THIS PROCEEDING
IS PROHIBITED. LGenR 4.1(c)(i) and (ii).




                                          SALLY J. BERENS
                                          U.S. Magistrate Judge

Dated: March 1, 2022               By:     /s/ Jenny Norton
                                          Courtroom Deputy
